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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ROTHSCHILD CONNECTED                          )
DEVICES INNOVATIONS, LLC,                     )
                                              )
       Movant,                                ) Civil Action No.
                                              ) 1:18-mi-00019-TWT
 v.                                           )
                                              )
THE COCA-COLA COMPANY and                     )
PLEXUS CORP.,                                 )
                                              )
       Respondents.                           )


      AMENDED THIRD PARTY PLEXUS CORP.’S RESPONSE TO
PLAINTIFF’S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA

      Third Party Plexus Corp. (“Plexus”) responds in opposition to Plaintiff

Rothschild Connected Devices Innovations, LLC’s (“RCDI”) February 28, 2018

Motion to Compel Plexus to Comply with Subpoena For Documents And

Testimony (“Motion”).

      In its Response to Plaintiff’s Motion to Compel Compliance with Subpoena,

Plexus inadvertently included a duplicative introduction section in its brief. Plexus

hereby files this Amended Response to Plaintiff’s Motion to Compel Compliance

with Subpoena in order to correct this typographical error. Plexus certifies no

substantive changes were made.


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I.    INTRODUCTION
      This motion to compel compliance with a third-party subpoena was

originally filed on February 28, 2018 in the Eastern District of Wisconsin

(Miscellaneous Action No. 18-mc-0008), and was transferred to this District on

March 8, 2018. Movant RCDI is the plaintiff in an underlying patent infringement

action in this District (Civil Action No. 16-cv-01241-TWT), in which RCDI

accuses Coca-Cola of infringing U.S. Patent No. 8,417,377 (“the ’377 Patent”) by

commercializing Freestyle dispensers that can be used in conjunction with

Coca-Cola’s Freestyle App.

      On February 9, 2018, RCDI served document and deposition subpoenas on

third-parties Plexus Corp. (“Plexus”) and Bottle Rocket LLC (“Bottle Rocket”).

Plexus is a Wisconsin company that manufactures the Freestyle dispensers under

contract with Coca-Cola. Bottle Rocket is a Dallas company that helped Coca-Cola

program the Freestyle App.1 In the underlying case, Coca-Cola, Plexus, and Bottle

Rocket moved to quash RCDI’s subpoenas (D.E. 87, 89), and Coca-Cola moved




      1
        Counsel for Coca-Cola represents third parties Plexus and Bottle Rocket
for the sole purpose of defending them against RCDI’s subpoenas and its motions
to compel. Plexus and Bottle Rocket are also represented in this matter by in-house
and outside counsel, who are not admitted in this District.
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separately for a motion for protective order in connection with RCDI’s last-minute

Notice of 30(b)(6) Deposition (D.E. 91).

      In its rush to file this motion to compel, RCDI (i) failed to meet and confer

with counsel for Plexus, as required by the Local Rules; and (ii) neglected to

review Coca-Cola’s massive document production for purposes of identifying with

specificity any alleged deficiencies.

      RCDI has now filed its responses to the motions for protective order and to

quash mentioned above (D.E. 87, 89, 91). In neither of RCDI’s response briefs

(D.E. 93, 94) does it deny Coca-Cola’s allegations regarding RCDI’s failure to

meet and confer in connection with its Notice of 30(b)(6) Deposition to Coca-Cola,

or its Subpoenas to Bottle Rocket and Plexus (id.). Though RCDI refers obliquely

to “meet-and-confer emails,” those emails were sent only after RCDI failed to

appear at the scheduled meet and confer (see, e.g., D.E. 93 at 17), or after the

motions for protective order and to compel had already been filed (see, e.g., D.E.

93 at 18).

      Coca-Cola has already produced to RCDI the information sought from

Plexus. RCDI claims that it served its third-party subpoena to obtain information

from third-party Plexus “only … after efforts to obtain the same information from

[Coca-Cola] failed.” (D.E. 1 at 3, emphasis added). RCDI justifies this motion to


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compel solely on the “substantial prejudice” impacting RCDI’s “ability to

undertake its infringement analysis” in the absence of the information sought

through the third-party subpoena. But if RCDI had reviewed the documents that

Coca-Cola has already produced, it would not have needed to seek this Court’s

intervention. The only justification that RCDI has provided for serving its third-

party subpoena on Plexus, and filing its motion to compel, has thus been

eliminated.

      Rather than focusing on substantive issues in the underlying case, however,

RCDI has chosen to pursue an unnecessarily aggressive approach to discovery –

for reasons that are unclear. So far in this case, RCDI has filed nine motions to

compel discovery.2 Coca-Cola has already responded to 160 document requests,

25 interrogatories, 15 requests to inspect, 10 individual deposition notices, 699

requests for admission, provided 5 Coca-Cola employees as fact witnesses for all-

day depositions, and produced 420,851 pages of documents (including some of the

most highly sensitive information in the company). RCDI’s nine motions to

compel – including two against third parties with no stake in this litigation – have


      2
        RCDI filed three motion to compel in the Southern District of Florida,
before the case was transferred to this District. RCDI later filed four motions in
this Court to compel additional discovery from Coca-Cola, and two motions to
compel Coca-Cola’s vendors, third-parties Bottle Rocket and Plexus to produce
Coca-Cola’s documents (including the current motion).

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been filed for reasons other than a legitimate need for more information from

Coca-Cola.

      Although Coca-Cola has produced to RCDI a massive amount of

information, RCDI is demanding even more. Through its third-party subpoena and

this motion to compel, RCDI seeks some of Coca-Cola’s most jealously-guarded

intellectual property from Coca-Cola’s third-party vendor. Yet, RCDI has not even

bothered to accept Coca-Cola’s invitation to inspect a Freestyle dispenser to

observe its operation. Nor has RCDI bothered to review the documents Coca-Cola

has already produced, or it would know that it already has the information it seeks

from third party Plexus. Accordingly, RCDI’s motion to compel Plexus’

production of documents and deposition should be denied.

II.   ARGUMENT

      A.     RCDI’s Untimely Subpoena to Third-Party Plexus
      After eight months of fact discovery, the initial fact discovery period closed

on May 5, 2017 (D.E. 57). Post-claim construction fact discovery closed on

February 28, 2018 (id.). The Court’s deadline for initial expert reports is set for

March 28, 2018 – i.e., 30 days after fact discovery closes. As the post-claim

construction fact discovery period neared its February 28 conclusion, RCDI served




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(i) document and deposition subpoenas on Plexus and Bottle Rocket on February

9; and (ii) RCDI’s first notice of 30(b)(6) deposition of Coca-Cola on February 8.

      On February 23, Plexus served timely objections to RCDI’s subpoena. On

February 26, 2018, Coca-Cola, Bottle Rocket, and Plexus jointly moved this Court

to quash RCDI’s last-minute subpoenas in the underlying case. (D.E. 87, 89.) On

February 28, 2018, Bottle Rocket filed a motion to quash in the Southern District

of Texas. When that subpoena-related action was transferred to this Court,

however, Bottle Rocket withdrew its motion as duplicative of the motion to quash

it had previously jointly filed in the underlying case (D.E. 87).

      RCDI never contacted Plexus before serving it with a subpoena.

Nonetheless, RCDI unilaterally set document production deadlines and deposition

dates for February 26 and 27 respectively, without asking for Plexus’ availability.

With its last-minute document requests and demands for depositions on the last

three days of fact discovery, RCDI was obviously presuming that this Court would

permit it to take discovery outside of the fact discovery period.

      B.     RCDI Did Not Attempt to Meet and Confer
      RCDI made no effort to meet and confer with Plexus in connection with this

motion to compel. RCDI’s claim that “[c]ounsel for RCDI and Plexus/TCCC met

and conferred” is refuted by its own cite to emails (not even telephone discussions)



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that were sent to Plexus’ counsel after RCDI failed to appear for the parties’

agreed-upon meet and confer on February 23 (D.E. 1 at 2-3). Ironically, the meet

and confer that RCDI failed to appear for was Coca-Cola, Plexus, and Bottle

Rocket’s scheduled meet and confer to discuss the motions to quash and motion for

protective order that were filed to seek protection from RCDI’s last-minute

subpoenas and 30(b)(6) depositions. RCDI never even attempted to meet and

confer in connection with its own motion to compel Plexus – i.e., this motion.

      C.      Plexus’ Attempts to Meet and Confer Don’t Save RCDI3
      On the morning of February 16, counsel for Plexus made clear to RCDI that

the third-party subpoenas were improper and should be quashed (Nichols Dec. at

Ex. A). Later that same afternoon, counsel for Plexus proposed a meet and confer

for the following Monday to discuss the third-party subpoenas (id. at Ex. B)

(emphasis added). RCDI never responded to the February 16 proposal of a meet

and confer. On February 20, Plexus’ counsel again proposed a meet and confer (id.

at Ex. C). For several days thereafter, counsel for Plexus continued pressing




      3
        The facts of RCDI’s failure to participate in Bottle Rocket, Plexus, and
Coca-Cola’s scheduled meet and confer are provided in additional detail in
Coca-Cola’s Motion for Protective Order (D.E. 91 at 7-10) and Coca-Cola, Plexus,
and Bottle Rocket’s Motion to Quash Subpoenas (D.E. 87 at 8-11), currently
pending in the underlying patent infringement case (16-cv-01241-TWT).

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counsel for RCDI for a meet and confer, with only sporadic responses from

RCDI’s counsel (id. at Ex. D).

       On Friday, February 23, RCDI finally agreed to a meet and confer for that

same day at 5:30 p.m. At the scheduled teleconference time, counsel for RCDI

failed to show up (id.). Instead, a Mr. Milian joined the meet and confer

teleconference and stated that he “only had authority to agree to modify the

scheduling of the depositions.” (id. at Exs. E, J). Counsel for Plexus explained to

Mr. Milian that the purpose of the meet and confer was to discuss the improper

subpoenas and 30(b)(6) notice – not to discuss scheduling (id.). Mr. Milian stated

that because he was driving in his car, and did not have the subpoenas or the

30(b)(6) notice in front of him, he could not discuss those issues with us (id.). In

any event, Mr. Milian had stated he lacked the authority to meet and confer on

those issues (id.).

       In short, none of RCDI’s counsel of record participated in the meet and

confer. And though Mr. Milian purported to speak for RCDI, he admitted that he

lacked the authority to engage in a good faith meet and confer on the motions the

parties had agreed to discuss (id.). Moreover, RCDI has never even attempted to

meet and confer on this motion to compel Plexus’ document production and

subpoena.


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      When it responded Coca-Cola’s Motion for Protective Order (D.E. 91) and

Coca-Cola, Plexus, and Bottle Rocket’s Motion to Quash Subpoenas (D.E. 87),

currently pending in the underlying patent infringement case (16-cv-01241-TWT),

RCDI did not deny a single fact regarding its failure to appear and engage in a

good faith meet and confer. RCDI has thus conceded its failure to meet and confer

as required by the Local Rules. With that concession, RCDI also necessarily

concedes this motion to compel Plexus’ document production and deposition.

      Although RCDI claims to have engaged in meet and confer process, it

simply did not. RCDI’s counsel sent counsel for Plexus an email on February 26

stating RCDI’s intention to file a motion to compel (id. at Ex. I). And the parties

never discussed RCDI’s motion to compel Plexus – either in person or by

telephone.

      In its rush to the courthouse, RCDI has neglected to follow this Court’s

Local Rules requiring parties to meet and confer before filing a motion. LR

37.1(A)(1); see also See Graco Children’s Prod. Inc. v. Kids II, Inc., No. 1:13-CV-

1183-TWT, at *2-3 (N.D. Ga. February 13, 2015) (Thrash, J.) (denying plaintiff’s

motion to compel “because there was inadequate good-faith effort to meet-and-

confer regarding the discovery disputes”). Given RCDI’s disregard of the meet and

confer requirement, it is clear that RCDI did not intend to resolve its discovery


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dispute with Plexus without Court action, and instead desired only to bring its

motion to compel – along with its five other pending motions to compel in the

underlying case.

      D.     RCDI Thwarted Plexus’ Opportunity to Move to Quash
      RCDI urges this Court to compel Plexus to produce documents and appear

for a deposition because Plexus was unable to seek an order quashing the subpoena

before the date set for Plexus’ deposition (D.E. 1 at 3). RCDI misunderstands the

application of Rule 45 to non-parties. Rule 45 provides that a non-party may

simply object to the production of documents requested in a subpoena. Absent an

agreement that would allow Plexus to withdraw its objections, the only recourse

for RCDI is to file a motion to compel. See Fed. R. Civ. P. R. 45(d)(2)(B)(i); see

Estate of Manship v. United States, No. 1:08-CV-3239, 2009 WL 10668306, at *8

(N.D. Ga. June 5, 2009) (“Having made their objections, [the third parties] did not

have a duty to search, and under [Rule 45], they are relieved of any duty to obey

the subpoena until and unless ordered to do so by the court).

      Nonetheless, because of RCDI’s failure to meaningfully participate in a meet

and confer, counsel for Plexus worked over the entire weekend to prepare a motion

to quash the subpoena on February 26 – i.e., the day before the date RCDI

unilaterally set for Plexus’ deposition. While Rule 45 requires a “timely motion,”



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courts have discretion to consider subpoenas filed after the date of compliance. In

fact, courts have held that motions to quash non-party subpoenas filed weeks after

the date of compliance are not untimely “when [the] subpoenas impose significant

expense on non-parties and when there is contact between counsel for the non-

party and the subpoenaing party prior to any challenge to negotiate production.”

Alabama Aircraft Indus., Inc. v. Boeing Co., No. 2:11-CV-03577-RDP, 2017 WL

4585582, at *3 (N.D. Ala. Apr. 25, 2017); Ward v. Liberty Ins. Corp., No. CIV-15-

1390-D, 2018 WL 991546, at *2 (W.D. Okla. Feb. 20, 2018) (because the

document and deposition subpoena is “overbroad in scope and presents an undue

burden” the court “chooses to exercise its discretion to consider the merits of

MES’s motion to quash even though the motion was filed eighteen days after the

time of compliance.”).

      E.     RCDI Failed to Take All Reasonable Steps to Avoid Imposing
             Undue Burden on Plexus
      As RCDI itself recognizes, to comply with Rule 45, an issuing party must

limit the subpoena to discovery that is relevant and proportional under the same

standards set forth in Rule 26(b). Aeritas, LLC v. Delta Airlines, Inc., No. 11-CV-

00969, 2013 WL 454452, at *2 (N.D. Ga. Feb. 7, 2013).

      In the context of Rule 45, however, proportionality and relevance are not the

only limitations imposed on a party seeking discovery from third parties. Rule 45

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presents another hurdle. A party issuing a third-party subpoena “must take

reasonable steps to avoid imposing undue burden or expense on a person subject to

the subpoena.” Fed. R. Civ. P. 45(d)(1). Beyond that, a court must quash or

modify a subpoena when it fails to provide reasonable time to comply, requires

disclosure of privileged information, demands compliance beyond the geographical

limits specified, or subjects a person to undue burden. Fed. R. Civ. P.

45(d)(3)(A)(i)-(iv); see also In re Kemper Ins. Companies, No. 1:02-cv-1198, 2003

WL 25672797, at *4 (N.D. Ga. June 17, 2003) (A party has a duty to seasonably

conduct discovery within the allotted or extended discovery period).

      As a part of this analysis, “‘non-party status is a significant factor to be

considered in determining whether the burden imposed by a subpoena is undue.’”

Aeritas, 2013 WL 454452, at *2 (internal citations omitted). Based on non-party’s

heightened protection from burdensome discovery, courts analyze whether the

party issuing the subpoena took all reasonable steps to seek discovery from parties

to the litigation before seeking discovery from a non-party. Aeritas, 2013 WL

454452, at *2; see also Brilliant Alternatives, Inc. v. Feed Mgmt. Sys., Inc., No.

1:09–CV–2348, 2011 WL 72336, at *6 (N. D. Ga. Feb. 22, 2011) (denying motion

to compel directed to third party because “the Plaintiffs sought much of the same

information already requested from the Defendants”).


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      In the underlying action, Coca-Cola has produced documents responsive to

every one of the subpoena’s document categories. (D.E. 2-1 at 7). RCDI’s motion

provides no support for its claim that Coca-Cola has not already provided this

information (see, e.g., D.E. 1 at 9, 10). RCDI cannot, because Coca-Cola has

produced documents to RCDI that are responsive to each of the subpoena’s

document categories, except number 4. RCDI’s failure to provide any support for

its claim that it has sought and failed to obtain these documents from Coca-Cola is

fatal to its motion to compel, especially considering that is RCDI’s sole

justification for its third-party subpoena to Plexus (D.E. 1 at 3).

      RCDI alleges that “Plexus has failed and refused to demonstrate that the

information RCDI seeks is duplicative [of information already obtained from

Coca-Cola.]” But because RCDI failed to appear for a meet and confer that

Plexus’ counsel arranged for Friday, February 23 at 5:30 p.m. RCDI itself deprived

Plexus of any chance of demonstrating that the subpoena sought purely duplicative

information that had already been produced by Coca-Cola.

      Here, RCDI has admitted that its third-party subpoena seeks to obtain

Coca-Cola’s documents – not Plexus’ documents – from Plexus. RCDI claims in

its motion that it served its third-party subpoena to obtain information from third-

party Plexus “only … after efforts to obtain the same information from


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[Coca-Cola] failed.” (D.E. 1 at 3) (emphasis added). RCDI justifies this motion to

compel solely on the “substantial prejudice” that will be caused to RCDI’s “ability

to undertake its infringement analysis” in the absence of the information sought

through the third-party subpoena (D.E. 1 at 3). But if RCDI had reviewed the

documents that Coca-Cola has already produced, it would not have needed to seek

this Court’s intervention.

      Although a party may make appropriate use of a third-party subpoena to test

an opposing party’s document production, RCDI’s subpoenas do not qualify as one

of those appropriate uses, because the documents sought have already been

produced – RCDI just has not done its “homework” to see what it has already

obtained from Coca-Cola. Coca-Cola has repeatedly demonstrated to RCDI that it

has already produced the documents requested by its third-party subpoena.

Accordingly, RCDI has failed to take all reasonable steps to avoid imposing undue

burden or expense on Plexus. Brilliant Alternatives, 2011 WL 72336, at *6

      F.     Coca-Cola Has Already Produced the Documents RCDI Seeks
      RCDI’s subpoena to Plexus includes 9 document categories (D.E. 2-1).

Categories 1 and 3-7 are identical to RCDI’s second set of document requests, nos.

4, 8, 9, 10, 13, and 14, respectively (Ex. 1 (Chart Comparing Plexus document

subpoenas to RCDI’s requests for documents to Coca-Cola)). Categories 2, 6, 7,



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and 8 are not identical, but nonetheless duplicative of RCDI’s First Set of

Document Requests, nos. 6, 12, 16, 17, 31, 34, and 52 (id.). RCDI’s category 2 to

Plexus is duplicative of three document requests to Coca-Cola, Nos. 16 and 17 of

RCDI’s first set and no. 4 of RCDI’s second set (id.). Similarly, RCDI’s category

8 to Plexus is duplicative of three document requests to Coca-Cola, nos. 31, 34,

and 52 of RCDI’s first set of document requests (id.). Although RCDI never

served a document request identical to category 9 (“All agreements between Plexus

and Coca-Cola relating to any Freestyle dispenser”), Coca-Cola had already

produced that agreement back in February 2016 (TCCC00144775-834 (Master

Equipment and Supply Agreement)).

      RCDI seeks from Plexus Coca-Cola documents that have already been

produced in this case. Even if Coca-Cola had not already produced the documents

required by RCDI’s subpoena, RCDI has not “take[n] reasonable steps to avoid

imposing undue burden or expense on a person subject to the subpoena.” See

Aeritas, 2013 WL 454452, at *2. More surprisingly, RCDI has not even bothered

to explain to Coca-Cola, Plexus or this Court (1) why it believes documents are

missing from Coca-Cola’s production or (2) what information it needs to prosecute

its case against Coca-Cola.




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             1.    Document Categories 6 and 7 – Data Transmission
      RCDI’s subpoena to Plexus requires production of documents related to data

transmitted to and from Freestyle dispensers and related servers (D.E. 2-1 at 6, 7).

RCDI previously threatened Coca-Cola with a different motion to compel, unless

Coca-Cola identified by Bates number its production of documents containing

“[r]epresentative samples of all database files stored on each server in

communication with the accused Freestyle beverage dispensers” (Nichols Dec. at

Ex. L). Coca-Cola responded by identifying representative documents – just as

RCDI demanded:

      These include, for example, the documents starting with Bates
      numbers TCCC00306679, TCCC00306670, TCCC00306635,
      TCCC00145323, TCCC00146840, TCCC00146861, TCCC00183993,
      TCCC00183989, TCCC00165569, TCCC00162739, TCCC00086600,
      TCCC00171044 (used extensively as Exhibit 5 in the January 31,
      2018 deposition of Susan Adams), TCCC00000251 (marked and used
      as Exhibit 8 in the Dan Quartarone deposition, and used in the Susan
      Adams deposition as well), and TCCC00159550 (marked and used as
      Exhibit 1 in the deposition of Susan Adams).

(id. at Ex. M). Coca-Cola further offered an additional document – created after

this case was filed – which was an updated version of what Coca-Cola had

previously produced, and that RCDI had complained about. Coca-Cola produced

the document “[i]n an effort to avoid RCDI’s repeated threats to file motions to

compel” (id.; see TCCC00419872-TCCC00419952).



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      After producing its documents, and then complying with RCDI’s demand

that it identify representative documents by Bates number, Coca-Cola never heard

back from RCDI regarding these documents. Instead, RCDI has demanded that the

very same Coca-Cola documents be produced by Plexus. (D.E. 2-1 at 6, 7.)

      RCDI seeks from third parties documents that Coca-Cola has already

produced. RCDI’s efforts to unduly burden third party witnesses for more of

Coca-Cola’s documents is an improper use of a third-party subpoena, even if they

had been timely served. RCDI’s subpoenas should be quashed because it has

failed to “take reasonable steps to avoid imposing undue burden or expense on a

person subject to the subpoena.” Aeritas, 2013 WL 454452, at *2.

            2.     Document Categories 1 and 2 – CAD files
      RCDI’s subpoena would also require that Plexus produce Coca-Cola’s

highly confidential CAD files (see D.E. 2-1 at 6). RCDI has demanded the same

of Coca-Cola many times. On several prior occasions, Coca-Cola explained to

RCDI that Coca-Cola had already produced CADs in its initial production in 2016.

In an effort to compromise on discovery disputes and avoid involvement by the

court, Coca-Cola supplemented its production with additional CAD files, including

electrical, fluid, and network schematics on February 16, 2018 (Nichols Dec. at




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Exs. O, P). Nonetheless, RCDI still filed this motion demanding the same

documents from third-party Plexus.

      RCDI alleges in its motion that a third-party subpoena to obtain “Freestyle

dispenser design and development documents” is necessary as “[t]his information

is not otherwise available to RCDI” (D.E. 1 at 5-6). But RCDI does not even

attempt to demonstrate why Plexus – a third party manufacturer – should be

compelled to produce Coca-Cola’s highly-confidential CAD documents, or why

Coca-Cola’s prior production of these documents has not already provided RCDI

with ample information regarding the design and development of the Freestyle

dispenser.

             3.    Document Categories 3-5 – Source Code
      RCDI’s subpoena would also require that Plexus produce Coca-Cola’s

highly confidential source code (see D.E. 2-1 at 6). Because of the highly sensitive

nature of source code, Coca-Cola has refused to produce source code to RCDI in

this case. No company is willing to produce its source code, of course, but in some

cases, reading the source code is necessary to understand the functionality of a

device accused of infringement. For example, it may be necessary to understand

the function of an algorithm operating on a microchip with no moving parts. This

beverage dispenser case is not one of those cases.



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      Coca-Cola has been forthright about its refusal, since RCDI first made the

request. RCDI has repeatedly criticized Coca-Cola’s position, but has never even

tried to explain why Coca-Cola’s highly sensitive source code would not be merely

cumulative over the other documents Coca-Cola has already produced. In

response to Coca-Cola’s inquiry as to why RCDI demands Coca-Cola’s source

code, counsel for RCDI merely responded that “[s]uch information is plainly

relevant to the infringement analysis.” (Nichols Dec. at Ex. L).

      Having failed to persuade Coca-Cola to change its mind as to producing its

source code, RCDI resorted to the use of a third-party subpoena to obtain

Coca-Cola’s source code from Plexus. RCDI is thus attempting to deprive

Coca-Cola of its ability to protect some of its most valuable intellectual property.

This Court should not order the production of Coca-Cola’s source code from

Plexus, when RCDI has not even accepted Coca-Cola’s invitation to come inspect

a Freestyle dispenser and see it in operation.

             1. RCDI’s Subpoenas Seek Documents and Depositions on Topics
                That Are Not Relevant to Any Claim or Defense in This Case
      Like all patent cases, this case requires a determination of whether

Coca-Cola infringes, by comparing the characteristics and functionality of

Coca-Cola’s Freestyle dispenser with the claims of RCDI’s patent. The

functionality of the Freestyle dispenser, and perhaps the Freestyle App, are central

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to the infringement analysis, and can be easily determined on the record that

Coca-Cola has provided. As Plexus explained in its objections to RCDI’s

subpoena, the record in this case is full of documents and testimony that RCDI can

use to fully prosecute its case against Coca-Cola.

      In its motion, RCDI’s only explanation for why its third-party discovery is

necessary is that the requested information “pertains to the beverage dispensers at

issue and Plexus’ manufacture thereof [] [and] [t]his information is also not

otherwise available to RCDI” (D.E. 1 at 6). However, the record reveals that

Coca-Cola has provided a tremendous amount of documentation about the

operation of the Freestyle dispenser and Plexus’ development thereof. As counsel

for Plexus explained to RCDI, Coca-Cola has provided all relevant documents

regarding the manufacture of the Freestyle dispenser, such that any further

discovery from Plexus is unnecessary and would be irrelevant to the substantive

issues of this case (see Ex. 3 (TCCC00144301-02 (Fluid Schematic); Ex. 4

(TCCC00144226-230 (R&D Alpha Review); Ex. 5 (TCCC00145319-20) (Pump

Module Schematic); see also Ex. TCCC00082384-95 (Electrical Test Report);

TCCC00082397-411 (Requirements); TCCC00000251 (Freestyle Cloud);

TCCC00000252 (Dispenser Schematic); TCCC00000255 (Dispenser Assembly

Schematic); TCCC00000256 (Stacked Single Assembly Schematic);


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TCCC00000257 (Stacked Single Assembly Schematic); TCCC00004573-74

(Stacked Single Assembly Schematic); TCCC00142451-66 (Freestyle Statement of

Work); TCCC00145322 (Ecosystem)).

      Nevertheless, there is not a single mention in RCDI’s motion whatsoever of

why the materials Coca-Cola has already produced are not sufficient to explain

“the beverage dispensers at issue and Plexus’ manufacture thereof.” In fact, RCDI

does not need access to previously produced Coca-Cola documents held by Plexus

– Coca-Cola’s third-party manufacturer. Allowing such access would only be

duplicative of discovery. Nor would RCDI obtain any probative facts from

deposition testimony on how Plexus maintains Coca-Cola’s highly confidential

documents, or the agreements between Plexus and Coca-Cola. Accordingly, even

if the third-party discovery were not duplicative over discovery already produced

in this case, it is simply not relevant to any claim or defense in this case.

Barrington v. Mortage IT, Inc., No. 07-61304-CIV, 2007 WL 4370647, at *3 (S.D.

Fla. Dec. 10, 2007) (“[W]hen relevancy is not apparent, the burden is on the party

seeking discovery to show the relevancy of the discovery request.” (quotation

omitted)).




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Respectfully Submitted, March 22, 2018


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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 22, 2018, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all counsel of record who

are deemed to have consented to electronic service.



                           /s/ Shane Nichols

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             CERTIFICATE OF COMPLIANCE WITH LR 5.1

     Pursuant to Local Rules 5.1 and 7.1(D), counsel hereby certifies that this

motion was prepared using Times New Roman 14 point font.


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